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 ATTORNEY(S) FOR:    Plaintiff, TNG WORLDWIDE, INC.
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
TNG WORLDWIDE, INC., a Michigan                                                CASE NUMBER:

Corporation                                                                                           2:19-cv-2802
                                                              Plaintiff(s),
                                     v.
BEAUTICOM, INC., a California Corporation
                                                                                              CERTIFICATION AND NOTICE
                                                                                                OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                         Plaintiff, TNG WORLDWIDE, INC.
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                 PARTY                                                                    CONNECTION / INTEREST
TNG WORLDWIDE, INC., a Michigan Corporation                                   Plaintiff

BEAUTICOM, INC., a California Corporation                                     Defendant

Lawrence D. Gaynor                                                            President and Director of Plaintiff




         April 11, 2019                                    /s/ Abirami Gnanadesigan
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiff, TNG WORLDWIDE, INC.


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
